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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 04-60297-CR-COHN/SNOW

UNITED STATES OF AMERICA,

 

Plaintiff,
Vv.
BILAL AHMED BHUTTA,
Defendant.
/
ORDER OF DISMISSAL

Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of Court
endorsed hereon, the United States Attorney for the Southern District of Florida hereby
dismisses with prejudice the indictment against the above-named defendant.

Respectfully submitted,

/s/Robert K. Senior
Robert K. Senior
Supervisory Assistant United States Attorney
Chief, Criminal Division
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99 N.E. 4" Street
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(305) 961-9291 Phone
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cc: Richard Getchell, AUSA

U.S. Marshal

Chief Probation Officer

Pretrial Services

Counsel for the Defendant

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Leave of Court is granted for the filing of the foregoingDismissal.

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